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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

JANNETTE BAKER                             §
                                           §
              Plaintiff,                   §
                                           §   CIVIL ACTION NO. ___________________
vs.                                        §
                                           §
IBM SOFTLAYER, and/or                      §
INTERNATIONAL BUSINESS                     §
MACHINES CORPORATION, d/b/a IBM            §
and/or d/b/a IBM SOFTLAYER,                §
                                           §
              Defendant.                   §



             PLAINTIFF JANNETTE BAKER’S ORIGINAL COMPLAINT
                  FOR EQUITABLE AND MONETARY RELIEF




                                      RESPECTFULLY SUBMITTED
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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 JANNETTE BAKER                                           §
                                                          §
                 Plaintiff,                               §
                                                          §
 vs.                                                      §
                                                          §   CIVIL ACTION NO. 3:21-cv-270
 IBM SOFTLAYER, and/or                                    §
 INTERNATIONAL BUSINESS MACHINES                          §
 CORPORATION, d/b/a IBM and/or                            §
 d/b/a IBM SOFTLAYER,                                     §
                                                          §
                 Defendant.                               §

               PLAINTIFF JANNETTE BAKER’S ORIGINAL COMPLAINT
                    FOR EQUITABLE AND MONETARY RELIEF

         Plaintiff Jannette Baker, by her attorney, files this her Original Complaint against

Defendant, IBM, Inc., alleging as follows:

                              I.     JURISDICTION AND VENUE

         1.     This action arises under the Civil Rights Act of 1871, codified at 42 U.S.C. Section

1981, and Title VII of the Civil Rights Act of 1964, codified at 42 U.S.C. 2000e, et seq., both as

modified by the Civil Rights Attorney's Fee Awards Act of 1976 (42 U.S.C.A. § 1988[b]).

Accordingly, this Court has federal question jurisdiction over the subject matter of this action

pursuant to 15 U.S.C. § 1221 and 28 U.S.C. §§ 1338(a), (b).

         2.     The Court further has jurisdiction over this matter as the Plaintiff has filed a charge

with the EEOC naming IBM Softlayer, has received a right to sue letter, and is timely filing this

action within the 90-day right to sue window.

         3.     Venue in this district is proper under 28 U.S.C. § 1391(b)(2) and (3) as the events

occurred within the Dallas County portion of Dallas, Texas, within this District and this Division.




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                                     II.     THE PARTIES

       4.      Plaintiff Jannette Baker is a resident of and citizen of Texas and the United States.

She understood she was employed at IBM Softlayer, a division or subsidiary of IBM, and her

paychecks were from an account denominated International Business Machines Corporation.

       5.      Defendant IBM Softlayer and/or International Business Machines Corporation,

d/b/a IBM and/or d/b/a IBM Softlayer (collectively “Defendant” or “IBM”) is understood to be

incorporated under the law of New York, and IBM has its headquarters and nerve center located

in Armonk, New York. It may be served through its registered agent:

                                       CT Corp. System
                                  1999 Bryan Street, Suite 900
                                   Dallas, Texas 75201-3136

                      III.   DEFENDANT’S UNLAWFUL CONDUCT

       6.      This case is an employment matter where an employer wrongfully terminated an

employee based race discrimination and/or in retaliation for having opposed discrimination and

having filed a good-faith complaint of discrimination.

       7.      Ms. Baker was employed by IBM as a systems administrator from January 3, 2017

to June 25, 2018, making a salary of $95,000 per year, plus benefits.

       8.      Ms. Baker worked at IBM’s Dallas office located at 14001 Dallas Parkway in the

IBM Softlayer division and/or subsidiary. At the time of her wrongful termination, her manager

was Jason Galyon, and his manager was Suparna Roy.

A.     IBM’s Harsh Work Environment Turns Into a Racially Hostile Work Environment

       9.      From the very beginning, the environment Ms. Baker endured was a hostile work

environment. Indeed, in the time she was employed, she took detailed notes of the conduct she




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believed to be unprofessional. This hostile conduct was from both co-workers and managers, and

it started from almost her first day of training.

        10.      For example, it was routine for Ms. Baker to be told or have words blurted out to

her, such as “get out” (over 150 times), “you’re done” (over 90 times), “dead” or “you’re dead”

(over 60), and “go away” (over 20 times). These insults were often hurled in her direction as her

co-workers walked past her cubical. Sometimes, however, they were done much more openly and

in work meetings.

        11.      Despite working in such a hostile environment, for months Ms. Baker did not raise

any formal complaint with Human Resources.

        12.      Instead, when appropriate, she used times with her manager to discuss the work

environment and how it could be improved. During such conversations, which are a routine and

normal part of the management of employees at IBM, Baker would mention these incidents.

However, nothing was done to improve the harsh and hostile work environment. Even so, Baker

did not file a formal complaint with IBM’s Human Resources.

B.      Baker Files A Formal HR Complaint After Her Manager Effectively Ignores a Poem
        Posted on an IBM Message System That Calls Cops Who Kill “[Nig--rs]” Heroes

        13.      This changed after an incident on November 2, 2017, when a co-worker named

Mike Robinson sent her a racially derogatory text on the IBM Slack message system. It stated:

              “Cops give a damn about negro, pull a trigger, kill a nigger he’s a hero.
              Givin crack to the kids who the hell cares, one less ugly mouth on
              welfare.”

        14.      Ms. Baker notified and complained to her manager about the racially derogatory

message and told him that it was posted on the IBM Slack Message system, which employees like

Baker viewed. Specifically, it was normal and necessary for Baker to be required to access the




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IBM Slack Message system as part of her daily work. Accordingly, Robinson knew that Baker and

other Black employees would have seen the message when he posted it.

       15.    However, no action was taken against Robinson after he sent it. Indeed, a few days

later, Ms. Baker followed up with a manager, Mike Lamb. Mr. Lamb indicated that IBM had taken

the message down from the message system, but he did not indicate any further action would be

occurring moving forward.

       16.    Worse, IBM did not take any other actions to ensure that the work environment was

free from unlawful racial harassment. There was no apparent discipline to Mr. Robinson. There

was no memo to employees regarding use of the Slack Message System. There was no message

that IBM will not tolerate racism. No. There was nothing but silence. When IBM was faced with

a grotesque racial message knowingly sent to an open message system where Black employees

necessarily worked, IBM was silent.

       17.    Once Baker realized that IBM’s silence indicated that the situation was not being

dealt with by her managers, Ms. Baker filed a formal hostile work environment complaint with

Human Resources on March 12, 2018.

       18.    At the time she filed this formal HR complaint, Baker had worked at IBM for over

14 months. She was not and had not previously been on any type of Performance Improvement

Plan (PIP) or work probation. She consistently was among the systems analysts in her section with

the most productivity when measured in terms of in terms of the number of work actions

completed.

       19.    Human Resources investigations do not occur overnight and often take weeks or

months to complete. Despite the photographic evidence that a co-worker had left a poem on an

IBM Slack Message system calling police officers who kill Black people heroes, at the end of




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Human Resources’ investigation, Baker was informed by a Human Resources representative

named Jackie M. Vickers that the investigation found no wrongdoing.

C.     Baker is Placed on PIP Shortly After Investigation Finds “No Misconduct”

       20.      Amazingly, on May 21, 2018, exactly 10 weeks after filing her complaint of a

racially hostile work environment and shortly after Baker was told that the investigation had found

“no wrongdoing,” Baker was placed on a PIP. She was allegedly given 30 days to improve her

performance or face termination.

       21.      A good-faith PIP should be designed to allow improvement – if that is the PIP’s

actual goal. However, the PIP prepared for Baker was not designed for her to improve; it was

designed for her to fail so it could be used as the basis for her termination. During the PIP, several

things occurred which demonstrate bad faith on the part of IBM’s managers and/or HR:

       •     First, the PIP itself focused on tasks and skills that Baker had never been asked to
             perform in her job duties, including some outside her job description. This served to
             focus the ultimate judge of the PIP on areas of work she was unfamiliar with and in
             areas which she could not learn quickly without training or other assistance. Despite
             the addition of these new duties, her work schedule was not altered, she was not
             provided any training on these new duties, and her co-workers were not instructed to
             assist her in learning these new duties.

       •     Second, only seven days into the PIP, Baker’s manager Mr. Galyon joked about files
             disappearing in the system. The files in question were files Baker needed to prove her
             performance exceeded her PIP requirements, and the files in fact had been destroyed.
             Baker had been maintaining and updating these files daily since onboarding to
             document her high level of performance. The data included ticket numbers and showed
             she was one of the top three performers on the Team along with co-workers B. Hinton
             and T. Leonard.

       •     Third, during the PIP, she and management discussed that her working lead, Bryan
             Hinton, was not effectively communicating with Baker and another employee since his
             recent promotion. However, Hinton was not coached to correct this issue, and the lack
             of communication hindered both Ms. Baker’s and her co-worker’s performance.
             Worse, part of Baker’s job duties during the PIP included accessing certain data.
             However, when she did so, Hinton would scold her to get off his “node,” thus
             effectively hindering her ability to succeed in this area of her performance. Similar
             comments would come from another colleague on her shift as well.


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       •     Finally, Baker was also required to train and mentor new incoming System
             Administrators both before and during her PIP. Not only is training the new employees
             hardly the indicia of a poor performer, but it was also not part of her job description
             and interfered with her ability to learn the new tasks and duties assigned to her in the
             PIP.
       22.      Thus, the PIP was a false pretext for her termination. It was designed and

implemented in a manner to ensure that Baker could be unilaterally judged to have failed, and then

to use the alleged failure as an excuse for her wrongful termination.

D.     Baker Wrongfully Terminated at the End of Her Fake PIP

       23.      Accordingly, it is not surprising that despite fulfilling all the objective measures of

her actual job duties during her PIP, Ms. Baker was still terminated at its end.

       24.      Although Mr. Galyon told her she had not improved, once improper designed-for-

failure areas are removed, she had exceeded the PIP’s requirements for her actual job duties.

Indeed, the statistics related to her main job areas show she was a superior performer in her job.

In reality, Ms. Baker was fired because her manager did not like that she had taken her complaint

of a racially hostile work environment to Human Resources.

       25.      Ms. Baker has been injured by IBM’s wrongful termination of her employment. As

of the filing of this Complaint, she has been unable to secure permanent re-employment and her

losses continue to mount.

                                    IV.     LEGAL GROUNDS

       26.      Plaintiff brings this action for retaliation and discrimination under both the Civil

Rights Act of 1871, codified at 42 U.S.C. Section 1981, and Title VII of the Civil Rights Act of

1964, codified at 42 U.S.C. 2000e, et seq.




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A.      Section 1981 and Title VII Use Identical Legal Liability Theories

        27.    While there are some differences between Section 1981 and Title VII cases (such

as the inclusion of individual liability stated above), the Fifth Circuit has long held that claims of

intentional discrimination, which include racial discrimination and retaliation claims based on 42

U.S.C. § 1981, are analyzed for liability under the same rubric of analysis as Title VII cases. See,

e.g., Byers v. Dallas Morning News, Inc., 209 F.3d 419, 422 n. 1 (5th Cir.2000); Harrington v.

Harris, 118 F.3d 359, 367 (5th Cir.1997); LaPierre v. Benson Nissan, Inc., 86 F.3d 444, 448 n. 2

(5th Cir.1996); Wallace v. Texas Tech Univ., 80 F.3d 1042, 1047 (5th Cir.1996); Anderson v.

Douglas & Lomason Co., Inc., 26 F.3d 1277, 1284 n. 7 (5th Cir.1994).

        28.    Accordingly, unless otherwise noted, Plaintiff will cite to both Section 1981 and

Title VII cases for their precedential value to the Plaintiff’s Section 1981 case.

B.      Title VII and Section 1981 Both Prevent Retaliation and Hostile Environment
        Discrimination

        29.    Title VII of the Civil Rights Act of 1964 prohibits employment discrimination

based on race, national origin, religion, and other classifications, as well as retaliation based on

opposition to activities made unlawful by Title VII.

        30.    Specifically, 42 U.S.C. § 2000e-2 (a) states:

        (a) Employer practices

               It shall be an unlawful employment practice for an employer -

               (1) to fail or refuse to hire or to discharge any individual, or otherwise to
               discriminate against any individual with respect to his compensation, terms,
               conditions, or privileges of employment, because of such individual's race, color,
               religion, sex, or national origin; or

               (2) to limit, segregate, or classify his employees or applicants for employment in
               any way which would deprive or tend to deprive any individual of employment
               opportunities or otherwise adversely affect his status as an employee, because of
               such individual's race, color, religion, sex, or national origin.



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       31.      Further, 42 U.S.C. 2000e-3 (a) states:

             (a) Discrimination for making charges, testifying, assisting, or participating in
             enforcement proceedings

                It shall be an unlawful employment practice for an employer to discriminate against
                any of his employees or applicants for employment, for an employment agency, or
                joint labor-management committee controlling apprenticeship or other training or
                retraining, including on—the-job training programs, to discriminate against any
                individual, or for a labor organization to discriminate against any member thereof
                or applicant for membership, because he has opposed any practice made an
                unlawful employment practice by this subchapter, or because he has made a charge,
                testified, assisted, or participated in any manner in an investigation, proceeding, or
                hearing under this subchapter.

       32.      Compensatory and punitive damages may be awarded in cases involving intentional

discrimination based on a person's race, color, national origin, sex, religion, disability, or genetic

information.

       33.      Compensatory damages pay victims for out-of-pocket expenses caused by the

discrimination (such as costs associated with a job search or medical expenses) and compensate

them for any emotional harm suffered (such as mental anguish, inconvenience, or loss of

enjoyment of life). See e.g., Zamora v. City of Houston, 798 F.3d 326, 335 (5th Cir. 2016)

(compensatory damages included mental anguish, emotional distress, and damage to reputation).

       34.      Punitive damages may be awarded to punish an employer who has committed a

malicious or recklessly indifferent act of discrimination.

       35.      Specifically, 42 U.S.C. 2000e-5 (g) and (k) state:

       (g) Injunctions; appropriate affirmative action; equitable relief; accrual of back pay;
       reduction of back pay; limitations on judicial orders

                (1) If the court finds that the respondent has intentionally engaged in or is
                intentionally engaging in an unlawful employment practice charged in the
                complaint, the court may enjoin the respondent from engaging in such
                unlawful employment practice, and order such affirmative action as may be
                appropriate, which may include, but is not limited to, reinstatement or hiring
                of employees, with or without back pay (payable by the employer,



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               employment agency, or labor organization, as the case may be, responsible
               for the unlawful employment practice), or any other equitable relief as the
               court deems appropriate. Back pay liability shall not accrue from a date
               more than two years prior to the filing of a charge with the Commission.
               Interim earnings or amounts earnable with reasonable diligence by the
               person or persons discriminated against shall operate to reduce the back pay
               otherwise allowable.

        (k) Attorney’s fee; liability of Commission and United States for costs

               In any action or proceeding under this subchapter the court, in its discretion, may
               allow the prevailing party, other than the Commission or the United States, a
               reasonable attorney's fee (including expert fees) as part of the costs, and the
               Commission and the United States shall be liable for costs the same as a private
               person.
        36.    Additionally, 42 U.S.C. § 1981a states:

        (a) RIGHT OF RECOVERY
               (1) CIVIL RIGHTS
               In an action brought by a complaining party under section 706 or 717 of the Civil
               Rights Act of 1964 [42 U.S.C. 2000e–5, 2000e–16] against a respondent who
               engaged in unlawful intentional discrimination (not an employment practice that is
               unlawful because of its disparate impact) prohibited under section 703, 704, or 717
               of the Act [42 U.S.C. 2000e–2, 2000e–3, 2000e–16], and provided that
               the complaining party cannot recover under section 1981 of this title,
               the complaining party may recover compensatory and punitive damages as allowed
               in subsection (b), in addition to any relief authorized by section 706(g) of the Civil
               Rights Act of 1964, from the respondent.
               …
        (b) COMPENSATORY AND PUNITIVE DAMAGES
               (1) DETERMINATION OF PUNITIVE DAMAGES
               A complaining party may recover punitive damages under this section against a
               respondent (other than a government, government agency or political subdivision)
               if the complaining party demonstrates that the respondent engaged in
               a discriminatory practice or discriminatory practices with malice or with reckless
               indifference to the federally protected rights of an aggrieved individual.
C.      IBM Is Vicariously Liable for the Actions of Its Employees

        37.    A corporate defendant may be liable for intentional discrimination by an employee

through respondeat superior, or vicarious liability. See Green v. Albertson’s, Inc., 67 Fed.Appx.



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248    (5th   Cir   2003),   citing   Arguello   v.   Conoco,   Inc., 207   F.3d   803,   810   (5th

Cir.2000) (discussing 42 U.S.C. §§ 1981, 1982, and 2000a).

        38.     Vicarious liability under Section 1981 includes ratification liability. See, e.g.,

Alexander v. Local 496, Laborers' Int'l Union, 177 F.3d 394, 409 (6th Cir. 1999) (To succeed on

a claim of vicarious liability a plaintiff must “adduce specific evidence that the defendant

‘instigated, supported, ratified, or encouraged’ those actions … .’”).

D.      The Cat’s Paw Theory of Liability Holds the Bias of an Actor Can Unlawfully
        Influence and Infect with Animus an Otherwise Independent Investigation or
        Decisionmaker

        39.     In Staub v. Proctor Hospital, 562 U.S. 411, 131 S.Ct. 1186 (2011), the Supreme

Court determined that an employer should be held liable for employment discrimination based on

the discriminatory animus of an employee, who influenced, but did not make, the ultimate

employment decision.

        40.     In this case, the discriminatory conduct of Mike Robinson and the retaliatory

conduct of her manager was a significant influence in terminating Baker. Title VII requires the

discrimination to be a motivating factor in the termination, and in this instance the discrimination

was the motivating factor under the Cat’s Paw theory.

        41.     Cat’s Paw theory applies to Title VII claims, as evidenced in Zamora v. City Of

Houston, 798 F.3d 326, 331-32 (5th Cir. 2015) (holding cat’s paw analysis applies in Fifth Circuit

to Title VII cases); and, Holcomb v. Iona Coll., 521 F.3d 130, 143 (2d Cir. 2008) (holding a Title

VII plaintiff can succeed “even absent evidence of illegitimate bias on the part of the ultimate

decision maker, so long as the individual shown to have the impermissible bias played a

meaningful role in the [decision-making] process” (citation omitted).




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       42.      Under the Cat’s Paw analysis, “the impermissible bias of a single individual at any

stage of the promoting process may taint the ultimate employment decision ... so long as the

individual shown to have the impermissible bias played a meaningful role” in the employment

action. Bickerstaff v. Vassar Coll., 196 F.3d 435, 450 (2d Cir. 1999) (emphasis added).

       43.      When a supervisor or manager takes actions motivated by retaliatory animus that

are intended to cause an adverse employment action and do cause that action, this conduct is

sufficient to allow the conclusion that the employment decision, even if made by a different actor,

is tainted by the same illegal bias or motive. Zamora, 798 F.3d at 332 (holding evidence of

supervisor’s animus was sufficient to show other City actor’s decision was illegal).

       44.      It is evident through her prima facie case for discrimination that Baker experienced

bias towards her color that played a meaningful role in the ultimate decision to terminate her

employment. Regardless of the intentions of the final decision maker, the racial bias of her co-

worker and retaliatory conduct of her manager, and potentially others, appears to be the factual

underpinning of IBM’s action.

       45.      Accordingly, even when an otherwise independent investigation occurs, an

employer may not rely on a so-called “independent” investigation if it is tainted by the improper

discriminatory or retaliatory animus of employees involved in the investigation:

             Cat's paw liability attaches when the biased intermediate employee's actions are “a
             causal factor of the ultimate employment action.” [Staub v. Proctor Hosp., 562 U.S.
             411, 422, 131 S.Ct. 1186, 1193, 179 L.Ed. 144 (2011)]. The intermediate employee's
             actions need not be the sole cause of the adverse action; “[t]he decisionmaker's exercise
             of judgment is also a proximate cause of the employment decision, but it is common
             for injuries to have multiple proximate causes.” Id. at 1192 (citations omitted)
             (emphasis in original).

             An employer will not be liable for its intermediate employee's discrimination if “the
             employer's investigation results in an adverse action for reasons unrelated to the
             supervisor's original biased action.” Id. at 1193. However, if the adverse employment
             action is related to the discriminatory action, the employer may be liable. Neither


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             independent investigation nor independent judgment on the part of the employer
             provides a per se defense. For example, if the intermediate supervisor makes a biased
             report to the ultimate decisionmaker, it may be a causal factor in the adverse action if
             the independent investigation by the employer “takes it into account without
             determining that the adverse action was, apart from the supervisor's recommendation,
             entirely justified.” Id. Also, if “the independent investigation relies on facts provided
             by the biased supervisor,” id. then the investigation was not, in actuality, independent
             and the employer is liable.

             See Chattman v. Toho Tenax Am., Inc., 686 F.3d 339, 351 (6th Cir. 2012).

   E. IBM May Not Retaliate Merely Because HR’s Alleged Investigation Found “No
      Misconduct”

       46.      Retaliation claims are expressly contained in the language of Title VII and are also

cognizable under Section 1981 despite the absence of specific statutory language in it. See CBOCS

West, Inc. v. Humphries, 553 39 U.S. 442 (2008) (Section 1981 claim). Common activities

protected from retaliation under employment law, including Title VII and Section 1981, include:

1) opposing unlawful discrimination; 2) making a charge of unlawful employment discrimination;

3) testifying, assisting, or participating in any manner in an EEO investigation, proceeding or

hearing. See, e.g., Glanzman v. Metropolitan Management Corp., 391 F.3d 506 (3d Cir. 2004)

(termination for being a possible witness in an employment discrimination action is unlawful

retaliation) (ADEA); Robinson v. City of Pittsburgh, 120 F.3d 1286, 1299 (3d Cir. 103 1997)

(filing discrimination complaint constitutes protected activity), overruled on other grounds by

Burlington N. & S.F. Ry. Co. v. White, 126 S.Ct. 2405 (2006); Kachmar v. Sungard Data Sys.,

Inc., 109 F.3d 173, 177 (3rd 105 Cir. 1997) (advocating equal treatment was protected activity);

Aman v. Cort Furniture, 85 F.3d 1074, 1085 (3d Cir. 1989) (under Title VII’s anti-retaliation

provision “a plaintiff need not prove the merits of the underlying discrimination complaint, but

only that ‘he was acting under a good faith, reasonable belief that a violation existed’” (quoting

Griffiths v. CIGNA Corp., 988 F.2d 457, 468 (3d Cir. 1993) (quoting Sumner v. United States



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Postal Service, 899 F.2d 203, 209 (2d Cir. 1990)), overruled on other grounds by Miller v. CIGNA

Corp., 47 F.3d 586 (3d Cir. 1995)).

       47.      The Fifth Circuit held over 40 years ago that the filing of a charge of discrimination

and other communications with the EEOC are protected conduct even if the allegations are

ultimately found to be false. Pettway v. American Cast Iron Pipe Co., 411 F.2d 998, 1003-1007

(5th Cir. 1969) (holding “[t]here can be no doubt about the purpose of § 704(a). In unmistakable

language it is to protect the employee who utilizes the tools provided by Congress to protect her

rights. The Act will be frustrated if the employer may unilaterally determine the truth or falsity of

charges and take independent action.”) (emphasis added).

       48.      Other subsequent cases have reinforced the holding of the Fifth Circuit in Pettaway

as to complaints beyond filing a formal EEOC charge that are protected conduct even if false,

including both opposition short of an investigation and statements made while participating in an

investigation. Payne v. McLemore’s Wholesale & Retail Stores, 654 F.2d 1130 (5th Cir. 1981)

(employee who opposed racially discriminatory hiring practices need not prove veracity of such

opposed practices to receive anti-retaliation protection); Thomas v. Norris, 2009 U.S. Dist. LEXIS

107447 (B.D. Tex. 2009) (same).

       49.      Notably, Thomas holds that opposition requires only a reasonable belief and

participation at best only a good faith belief. Id. at 28-29. Further, the dissent in Holt v. v. JTM

Indus., 89 F.3d 1224 (5th Cir. 1996), recognizes that the EEOC's anti-retaliation position, stated

in Section 614.1 of its Interpretive Manual, explicitly relies on Pettway in declaring as follows:

             (A) General--Section 704(a) of Title VII of the Civil Rights Act of 1964, as
             amended, is intended to provide “exceptionally broad protection” for protestors
             of discriminatory employment practices. See Pettway v. American Cast Iron
             Pipe Co., 411 F.2d 998, 1004-1005, 2 EPD § 10,011 (5th Cir.1969).




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        50.      Likewise, in a case, like here, where the employee was terminated after an internal

complaint of discrimination was found by the employer to be unsupported by facts, the Fifth

Circuit has held that the employee was protected from retaliation irrespective of her ability to prove

the original complaint or subsequent statements:

              [the Employee/Complainant] need not prove that the discriminatory hiring
              practices alleged in her complaint in fact, existed. [She] need only prove that
              [she] had a “reasonable belief” that such practices existed in order to be
              protected by Title VII of the Civil Rights Act of 1964.

              See De Anda v. St. Joseph Hosp., 671 F.2d 850, 853 n. 2 (5th Cir.1982), citing Payne
              v. McLemore’s Wholesale & Retail Stores, 654 F.2d 1130 (5th Cir. 1981), and also
              citing Berg v. La Crosse Cooler Co., 612 F.2d 1041, 1045–46 (7th Cir.1980) (employee
              who makes good faith, reasonable charges that employer’s practice violates Title VII
              is protected from retaliatory discharge though charges later determined to be
              unfounded).

        51.      The Berg case, cited in De Anda, discusses its underlying legal analysis for why

employees need not prove the veracity of their complaints to have protection from retaliation –

because to interpret the opposition clause to require such proof would undermine the ability of

Title VII (or in this case Section 1981) to allow employees to seek better workplaces short of

litigation:

              [this argument] undermines Title VII’s central purpose, the elimination of
              employment discrimination by informal means; destroys one of the chief means
              of achieving that purpose, the frank and nondisruptive exchange of ideas
              between employers and employees; and serves no redeeming statutory or policy
              purposes of its own. Section 2000e-3(a) plays a central role in effectuating these
              objectives. By protecting employees from retaliation, it is designed to
              encourage employees to call to their employers’ attention discriminatory
              practices of which the employer may be unaware or which might result in
              protracted litigation to determine their legality if they are not voluntarily
              changed.

              612 F.2d at 1045.




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        52.    There can be no doubt that a Black employee who brings evidence of a racial epithet

calling cops who kill black people heroes is a good faith complaint. Indeed, in this case, IBM

placed Baker on a fake PIP shortly after it failed to corroborate her complaint. Instead, despite

visual evidence to the contrary, IBM found that there was “no misconduct.” IBM’s alleged use of

a bogus PIP on the heels of this HR non-finding was a pretext for the real reasons – retaliation for

filing the complaint and discrimination based on her being Black.

F.      Punitive Damages Are Not Capped Under Section 1981

        53.    The Supreme Court has held that a plaintiff in a Section 1981 action is entitled to

punitive damages “under certain circumstances.” Such circumstances include acting with malice

or reckless indifference to Plaintiff’s federally protected rights to be free from discriminatory or

retaliatory conduct. See Kolstad v. Am. Dental Ass’n, 527 U.S. 526, 54546 (1999). To recover

punitive damages against IBM, Baker may impute vicarious liability for punitive damages through

the actions of an employee acting in a “managerial capacity” with such malice or reckless

indifference. See Kolstad, 527 U.S. at 539. Unlike in Title VII cases, there are no limits on punitive

damages in Section 1981 cases. Punitive damages are a legal question for the jury.

        54.    The Supreme Court has held that a plaintiff in a Section 1981 action is entitled to

punitive damages “under certain circumstances.” Such circumstances include acting with malice

or reckless indifference to Plaintiff’s federally protected rights to be free from discriminatory or

retaliatory conduct. Kolstad v. Am. Dental Ass’n, 527 U.S. 526, 54546 (1999). To recover punitive

damages against IBM, Baker may impute vicarious liability for punitive damages through the

actions of an employee acting in a “managerial capacity” with such malice or reckless indifference.

Kolstad, 527 U.S. at 539. Unlike in Title VII cases, there are no limits on punitive damages in

Section 1981 cases. Punitive damages are a legal question for the jury.




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                                 V.      CLAIMS FOR RELIEF

A.      Count One - Discrimination under Title VII

        55.     Plaintiff realleges each allegation set forth in the paragraphs above.

        56.     Defendant terminated Plaintiff, in whole or in part, because of her color (Black).

        57.     Defendant’s termination of Plaintiff was committed with malice or reckless

indifference.

        58.     By reason of the foregoing, Plaintiff hereby asserts a claim against the Defendant

for wrongful termination based on discrimination in violation of Title VII, 42 U.S.C. 2000e-2(a).

        59.     Plaintiff seeks and requests that the Court award back pay, that is the payment of

wages lost prior to trial; either the equitable remedy of reinstatement or an equitable determination

that reinstatement is unfeasible and the equitable award of front pay; other direct and consequential

compensatory damages, including without limitation, mental anguish, emotional distress, loss of

enjoyment of life, and damage to reputation; punitive damages; plus, attorney fees and cost of

court; and any and all other damages in law or compensation in equity that the Court deems just

and right.

B.      Count Two – Retaliation under Title VII

        60.     Plaintiff realleges each allegation set forth in the paragraphs above.

        61.     By reason of the foregoing, Plaintiff hereby asserts a claim against the Defendant

for retaliatory discharge pursuant to Title VII.

        62.     By reason of the foregoing, Plaintiff hereby asserts a claim against Defendant for

wrongful termination in retaliation for filing a claim of discrimination in violation of Title VII of

the Civil Rights Act, 42 U.S.C. 2000e-3.




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        63.     Defendant’s termination of Plaintiff was committed with malice or reckless

indifference.

        64.     Plaintiff seeks and requests that the Court award back pay, that is the payment of

wages lost prior to trial; either the equitable remedy of reinstatement or an equitable determination

that reinstatement is unfeasible and the equitable award of front pay; other direct and consequential

compensatory damages, including without limitation, mental anguish, emotional distress, loss of

enjoyment of life, and damage to reputation; punitive damages; plus, attorney fees and cost of

court; and any and all other damages in law or compensation in equity that the Court deems just

and right.

C.      Count Three – Discrimination under Section 1981

        65.     Plaintiff realleges each allegation set forth in the paragraphs above.

        66.     Defendant terminated Plaintiff, in whole or in part, because of her color (Black).

        67.     Defendant’s termination of Plaintiff was committed with malice or reckless

indifference.

        68.     Plaintiff seeks and requests that the Court award back pay, that is the payment of

wages lost prior to trial; either the equitable remedy of reinstatement or an equitable determination

that reinstatement is unfeasible and the equitable award of front pay; other direct and consequential

compensatory damages, including without limitation, mental anguish, emotional distress, loss of

enjoyment of life, and damage to reputation; punitive damages; plus, attorney fees and cost of

court; and any and all other damages in law or compensation in equity that the Court deems just

and right.

D.      Count Four – Retaliation under Section 1981

        69.     Plaintiff realleges each allegation set forth in the paragraphs above.




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       70.      By reason of the foregoing, Plaintiff hereby asserts a claim against the Defendant

for retaliatory discharge pursuant to Section 1981.

       71.      Defendant’s termination of Plaintiff was committed with malice or reckless

indifference.

       72.      Plaintiff seeks and requests that the Court award back pay, that is the payment of

wages lost prior to trial; either the equitable remedy of reinstatement or an equitable determination

that reinstatement is unfeasible and the equitable award of front pay; other direct and consequential

compensatory damages, including without limitation, mental anguish, emotional distress, loss of

enjoyment of life, and damage to reputation; punitive damages; punitive damages; plus, attorney

fees and cost of court; and any and all other damages in law or compensation in equity that the

Court deems just and right.

                                     VI.     JURY DEMAND

       Plaintiff seeks an equitable injunction of reinstatement or equitable front pay in the

alternative as well as legal damages. However, in cases with remedies sounding in equity and in

law, to the extent there are one or more issues of fact or law suitable for a jury, a jury is proper.

Accordingly, the Plaintiff respectfully requests a jury trial on all such issues.

                                 VII.      PRAYER FOR RELIEF

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant be cited to

appear and answer herein, and that on final trial, Plaintiff have and recover Judgment against

Defendant pursuant to Section 1981, and against Defendant IBM pursuant to Title VII, with the

following relief:

                (1)    Past and future pecuniary losses, and lost wages from the time of
                       termination until the time of trial;

                (2)    Equitable reinstatement; or alternatively, if the Court makes an equitable



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               finding that reinstatement is not feasible, that the Court award of the
               equitable remedy of front pay including loss of wages in the future and loss
               of future earnings capacity;

         (3)   Compensatory damages, including damages for past and future mental
               anguish, emotional pain and suffering, inconvenience, loss of enjoyment of
               life, emotional distress, physical distress, damage to reputation, and other
               nonpecuniary losses;

         (4)   Punitive damages;

         (5)   Prejudgment and post-judgment interest at the maximum legal rate;

         (6)   Costs of Court; Attorneys’ fees; and All such other and further relief in law

               or equity to which Plaintiff may be justly entitled.

                                      RESPECTFULLY SUBMITTED,

                                      /s/ Eric N. Roberson
                                      __________________________________________
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